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                                                  Exhibit A
        Additional Witnesses from Whom Plaintiffs May Offer Deposition Testimony ∗


    •    Eric Beck
    •    John Bendoraitis
    •    Adam Decaire
    •    Thomas Draper
    •    David Fintzen
    •    DeAnne Gabel
    •    Daniel Gallagher
    •    Alla Gorelik
    •    Kevin Healy
    •    Vicki Jaramillo
    •    Richard Johns
    •    Robert Land
    •    Andrea Lusso
    •    Eric Monaghan
    •    David Neeleman
    •    Andrew Nocella
    •    Jayne O’Brien
    •    Jonathan Weiner




∗
 Defendants and certain third parties were deposed through representative witnesses pursuant to Rule 30(b)(6).
Plaintiffs may offer testimony from witnesses identified in this exhibit or Section VIII.A of this proposed order that
was given in both individual and Rule 30(b)(6) capacities.
